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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



 I.E.L. MANUFACTURING LTD., a                          Case No. 3:21-cv-796-JR
 Canadian corporation,
                                                       DEFAULT JUDGMENT
                Plaintiff,

         v.

 RISE SOLUTIONS LLC, an Oregon limited
 liability company dba RISE METAL
 ROOFING, and VICTOR M. GONZALEZ,
 an individual,

                Defendants.




       Based on the Court’s Opinion and Order, ECF 17, IT IS ADJUDGED that Plaintiff’s

Motion for Default Judgment, ECF 14, is GRANTED. The Court ORDERS that Defendants Rise

Solutions LLC dba Rise Metal Roofing, and Victor M. Gonzalez—as well as their officers,

directors, partners, agents, subcontractors, employees, representatives, franchisees, licensees,

subsidiaries, parents, and related companies or entities, and all others acting in concert or in

privity with Defendants—are permanently enjoined from using “INTERLOCK,”

“INTERLOCKING,” and other words, symbols, or logos confusingly similar to Plaintiff’s



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INTERLOCK trademark for roofing products and roofing services as a trademark or otherwise in

advertising, promoting, or offering services of a business relating to roofing.

       The Court ORDERS that Defendants Rise Solutions LLC dba Rise Metal Roofing, and

Victor M. Gonzalez—as well as their officers, directors, partners, agents, subcontractors,

employees, representatives, franchisees, licensees, subsidiaries, parents, and related companies

or entities, and all others acting in concert or in privity with Defendants: (1) remove all pages

and menus at any and all websites in any Defendant’s possession, custody, or control, including

at risemetalroofing.com that include “INTERLOCK,” “INTERLOCKING,” or any colorably

similar words or phrases; and (2) remove from all social media accounts any uses of

“INTERLOCK,” “INTERLOCKING,” or any colorably similar words or phrases.

       The Court ORDERS that Defendants pay Plaintiff $402 for the cost of its filing fees.

       DATED this 27th day of October, 2021.

                                                      /s/ Karin J. Immergut
                                                      Karin J. Immergut
                                                      United States District Judge




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